     Case 19-23410-SLM   Doc 85-3 Filed 08/12/20 Entered 08/12/20 14:05:54                             Desc
                           Certificate of Service Page 1 of 2
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-l(b)
     Steven J. Mmiino, Esq.• 027871987
     Iacullo Mar tino, LLC
     247 Fr anklin Avenue
     Nutley, NJ 07110
     (973)235-1550
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     Stevem@Iacullomar tino.com                             Case No.:                    19 -23410

                                                            Chapter:                         13


     In Re:                                                 Adv. No.:
     ANTHONY BIASI                                          Hearing Date:                9/9/2020

                                                            Judge:                   St acey L. M eisel



                                      CERTIFICATION OF SERVICE

I. I, ____D_ _ a_w_n_P_e_k_a_r ____

           D represent _____________ in this mat ter.

           � am the secret ar y/paralegal for ___S_ tev
                                                     _ _ e_n_J_._M_ a_ r_ti_no_ ___, who represent s
               Debtor
          ------------- in this mat ter.

           D am the __________ in this case and am representing myself.


2.
                A_u.seg�us_ t_l_2�, _ 20_ 2_0___, I sent a copy of the following pleadings and/or document s
          On ____
           to the parties lis ted in the char t below.
               Notice of Motion to Be Relieved as Counsel, Certification, proposed form of Order,
               Certification of Service

3.         I certify under penalty of perjury th at the above d ocuments were sent using the mode of service
           indicated.

Date:      8/12/2020                                      /s/ Dawn P ekar
                                                          Signature
Case 19-23410-SLM   Doc 85-3 Filed 08/12/20 Entered 08/12/20 14:05:54   Desc
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